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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                            Chapter 7

     Akorn Holding Company LLC, et al.,            Case No. 23-10253-KBO
                                                   (Jointly Administered)
                  Debtors.
                                                   RE: D.I. 195

 NOTICE OF FILING EXHIBIT TO DECLARATION IN SUPPORT OF OBJECTION TO
THE TRUSTEE’S NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
  THAT MAY BE ASSUMED AND ASSIGNED, PURSUANT TO SECTION 365 OF THE
BANKRUPTCY CODE, IN CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL
 OF THE DEBTORS’ ASSETS AND THE PROPOSED CURE AMOUNTS [ECF NO. 146]

          PLEASE TAKE NOTICE that on May 16, 2023, Leadiant Biosciences, Inc., filed its Objection

To The Trustee’s Notice Of Executory Contracts And Unexpired Leases That May Be Assumed And

Assigned, Pursuant To Section 365 Of The Bankruptcy Code, In Connection With The Sale Of

Substantially All Of The Debtors’ Assets And The Proposed Cure Amounts [ECF No. 146] (D.I. 195)

(the “Leadiant Objection”), and attached a declaration of David Sandoval as Exhibit 1 to the Leadiant

Objection (the “Sandoval Declaration”).

          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a true and correct

copy of the Termination Notice as referenced in the Sandoval Declaration.

Dated: May 25, 2023                   GELLERT SCALI BUSENKELL & BROWN, LLC

                                      /s/ Michael Busenkell
                                      Michael Busenkell (DE 3933)
                                      1201 North Orange Street, Suite 300
                                      Wilmington, DE 19801
                                      Telephone: (302) 425-5812
                                      Facsimile: (302) 425-5814
                                      Email: mbusenkell@gsbblaw.com

                                             and

                                      SEQUOR LAW
                                      Fernando J. Menendez, Jr., Esq.
                                      (Admitted pro hac vice)
                                      1111 Brickell Avenue, Suite 1250
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               Miami, Florida 33131
               Phone: 305-372-8282, Ext. 299
               Email: fmenendez@sequorlaw.com

               Counsel to Leadiant Biosciences, Inc.




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